Case 1:17-cr-00201-AB.] Document 178 Filed 02/14/18 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F COLUMBIA

eave to file GRANTED
LAMM Z l P)it@

UNITED STATES OF AMERICA ) Amy 9 Jackson Date
United States District Judge

)
v ) Pu 0 NM` §€a\
)
RICHARD W. GATES 111, ) Crim. No. 17-201-2 (ABJ)
)
Defendant. ) FILED UNDER SEAL

Position Of Defendant Richard W. Gates III On Pending Motion To Withdraw

Defendant Richard W. Gates, proceeding pro se, informs the Court that he requests that
consideration by the Court of the pending motion to Withdraw be deferred until a Week from
tomorrow, Wednesday, February 21, 2017.

Respectfully submitted

/\¢\/K/L

Richard ates
P/ 0 Se
206 Virginia Avenue

Richmond, VA 23226

